3/5/2019 Case: 1:19-cv-00493-DCN Doc #:Viewlcakellacket AB/MGICLO 1 of 26. PagelD #: 6

CASE INFORMATION

Docket Information

Filing Date Side Type Description Image
02/19/19 D NT NOTICE OF APPEARANCE, FILED DEFENDANT(S) ANJ, LLC(D1), EML EXPRESS, INC(D2) and
ANTONIO NOGUEIRA(D3) JORDAN C. HETTRICH 0091744. ENTRY OF APPEARANCE

02/16/19 N/A SR FX RECEIPT NO. 37686730 RETURNED 2/7/2019 FAILURE OF SERVICE ON PARTY
NOGUEIRA/ANTONIO/ - BAD ADDRESS AFTER 8 DAYS

02/09/19 N/A SR FEDEX RECEIPT NO. 37686729 DELIVERED BY FEDEX 02/08/2019 EML EXPRESS, INC
PROCESSED BY COC 02/09/2019.

02/08/19 N/A SR FEDEX RECEIPT NO. 37686728 DELIVERED BY FEDEX 02/07/2019 ANJ, LLC PROCESSED BY
COC 02/08/2019.

02/07/19 N/A JE ATTORNEY TAYFEL'S MOTION TO WITHDRAW AS PLAINTIFFS' ATTORNEY, FILED
02/06/2019, IS GRANTED. ATTORNEY WALLACE WILL CONTINUE TO REPRESENT THE
PLAINTIFFS. NOTICE ISSUED

02/06/19 P MO MOTION TO WITHDRAW AS COUNSEL MOTION TO WITHDRAW AS PLAINTIFFS' ATTORNEY
02/07/2019 - GRANTED

02/04/19 N/A SR. SUMMONS E-FILE COPY COST
02/04/19 N/A SR. SUMMONS E-FILE COPY COST
02/04/19 D3 CS WRIT FEE ~

02/04/19 D3 SR SUMS COMPLAINT(37686730) SENT BY FEDERAL EXPRESS. TO: ANTONIO NOGUEIRA 602
NW 13TH STREET NO. 34 BOCA RATON, FL 33486

02/04/19 D2 CS WRIT FEE

02/04/19 D2 SR SUMS COMPLAINT(37686729) SENT BY FEDERAL EXPRESS. TO: EML EXPRESS, INC 8S
STREET HULL, MA 02045

02/04/19 N/A SR SUMMONS E-FILE COPY COST
02/04/19 DI CS WRIT FEE

02/04/19 DI SR SUMS COMPLAINT(37686728) SENT BY FEDERAL EXPRESS. TO: ANJ, LLC 784 SECOND
STREET FALL RIVER, MA 02721

01/30/19 N/A SF JUDGE MAUREEN CLANCY ASSIGNED (RANDOM)

01/30/19 Pi SF LEGAL RESEARCH

01/30/19 Pl SF LEGAL NEWS

01/30/19 PI] SF LEGAL AID

01/30/19 Pl SF COURT SPECIAL PROJECTS FUND

01/30/19 Pl SF COMPUTER FEE

01/30/19 Pl SF CLERK'S FEE

01/30/19 Pl SF DEPOSIT AMOUNT PAID ERIC W TAYFEL

01/30/19 = N/ASF CASE FILED: COMPLAINT

Copyright © 2019 PROWARE. All Rights Reserved. 1.1.677b

EXHIBIT

iA

hitps://efiling.cp.cuyahogacounty.us/CV_Caselnformation_Docket.aspx?q=pT6sy1AnTfSHN2iKgokwdQ2&isprint=Y stk)
Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 2 of 26. PagelD #: 7

 

NAILAH K. BYRD

CUYAHOGA COUNTY CLERK OF COURTS
1200 Ontario Street
Cleveland, Ohio 44113

Court of Common Pleas

New Case Electronically Filed:
January 30, 2019 13:33

By: ERIC W. TAYFEL 0068222

Confirmation Nbr. 1612517

DENNIS J SCHMITT, ET AL CV 19 910339

VS.

Judge: MAUREEN CLANCY
ANJ, LLC, ET AL

Pages Filed: 5

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 
 

 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 3 of 26. PagelD #: 8

IN THE COURT OF COMMON PLEAS
CUYAHOGA COUNTY, OHIO

DENNIS J. SCHMITT
52 Diebold Road Case No.
McKees Recks, PA 15136

iIon.
and
DIANE SCHMITT

52 Diebold Road
McKees Rocks, PA 15136

Plaintiffs,
VS.
ANJ, LLC
784 Second Street
Fall River, MA 02721
and
EML EXPRESS, INC.
8 S Street
Hull, MA 02045-1503
and
ANTONIO NOGUEIRA
602 N.W. 13' Street, No. 34
Boca Raton, FL 33486

Defendants.

COMPLAINT
(Jury Demand Endorsed Hercin)

NOW come Plaintiffs, Dennis and Diane Schmitt, and for their Complaint against
Defendants ANJ, LLC (hereafier Defendant ANJ), Defendant EML Express, Inc. (hereafter

Defendant EML) and Defendant Antonio Nogueira (hereafter Defendant Nogueira) state as

follows:

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 4 of 26. PagelD #: 9

1, Plaintiffs Dennis Schmitt and Diane Schmitt were at all times relevant hercin, private
citizens and residents of the City of McKces Rocks, Allegheny County, in the Commonwealth of
Pennsylvania.

2. Defendant ANJ was at all times herein, a foreign, for profit corporation, with its
principle place of business being located at 784 Second Street, Fall River, Massachusetts.

3. Defendant EML was at all times relevant herein, a foreign, for profit corporation,
with its principle place of business being located at 8 S Street, Hull Massachusetts.

4. Defendant Nogueira is a private citizen and upon information and belief is a resident
of the City of Boca Raton, in the State of Florida.

5. Atall times relevant herein, Defendant Nogueira was an employee and/or agent of
Defendant ANJ and/or Defendant EML.

6. On January 30, 2017, Plaintiff Dennis Schmitt was operating a 2008 International box
truck on 271 south in the City of Bedford Heights. Cuyahoya County. Ohio.

7, At all times relevant herein. Plaintiff Dennis Schmitt was operating his vehicle ina
sufe und lawful nianner.

8. At that same date, time and location, Defendant Nogueira was operating a tractor
trailer and was also traveling on 1-27! southbound.

® When it was to the left of the Schinitt vehicle. the tractor trailer attempted to change
Janes to the tight. When it attempted to do so. it struck the vehicle driven by Plaintiff Dennis
Schinitt. causing the Schinitt vehicle to be forced rom the roadway. before ultimately crashing
into a concrete barrier,

10. The crash was a direct result of the negligence of Defendant Nogueira. Defendant

AANJ and/or Defendant ML. ‘That negligence inchides. but is not limited to:

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 

i 1

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 5 of 26. PagelD #: 10

(a) Failing to keep a proper lookout;
(b) Failing io properly control the tractor trailer;
(c) Failing to maintain travel in a designated lane;

(d) Failing to yield the right of way to the vehicle carrying Plaintiff Dennis
Schmitt:

(e) Failing to properly signal a lanc change;
(f) Failing to safely change lanes;
(g) Such other negli gence as may be developed during the course of discovery.
1]. Following the impact with the vehicle operated by Plaintiff Dennis Schmitt,
Defendant Nogueira recklessly fled the scene off the accident. It was only later that a passerby
was able to chase down Defendant Nogucira and obtain his information.

12. Fleeing the scene of an accident is a reckicss act, which entitles Plaintiffs to punitive

damages.

13. As a direct and proximate result of the crash, Plaintiff Dennis Schmitt suffered
physical injuries, some of which are pernranent in nature. hese injuries include strain/sprain of
the cervical spine, cervical radiculopathy, fractured and bruised ribs, tear of the rotator cuff,
strain/sprain of the shoulder, strain/sprain of the low back and a concussion.

14. Plaintiff has incurred medical expenses in excess of $56,000.00 as a direct and

proximate result of the crash.
15. Plaintiff Dennis Schmitt’s injuries have caused, and will continuc to cause, Plaintiff

Dennis Schmitt pain, anguish, loss of the ability to perform his usual daily functions and a loss of

enjoyment of life.

16. Plaintiff Dennis Schmitt has suffered a loss of income and will continue to suffer a

loss of income in the future, due to his permanent injurics.

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 

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Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 6 of 26. PagelD #: 11

17. All the harms and losses suffered by Plaintiff Dennis Schmitt, as sct forth above, are
the direct and proximate result of the negligence and/or recklessness of Defendant ANJ,
Defendant EMI and/or Defendant Nogueira.

18. As the employer or principle of their agents or employees, Defendant ANJ and
Defendant EML are responsible for the negligent and/or reckless acts of their employees or agents.

19. At all times relevant herein, Plaintiff Diane Schmitt has been the lawfully wedded
to Plaintiff Dennis Schmitt.

20. As a direct and proximate result of Defendants’ actions and inactions as set forth
above, Plaintiff Diane Schmitt has sustained the loss of her husband’s consortium, including the
loss of his society, services, affection and relations.

WHEREFORE, Plaintiffs respectfully request the Court award compensatory and
punitive damages against Defendant ANJ, LIC, Defendant EMI. Express, Inc. and Defendant
Antonio Nogueira, jointly and severally, in an amount sufficient to satisfy: the jurisdictional limits
of this Court und to fully and fiirly compensate Plaintiffs for their harms and losses set forth herein.
Plaintiffs further priy for their attomey’s fees, costs and for such other relief as this Court dcems

just and proper.

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 

 
 

 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 7 of 26. PagelD #: 12

Respectfully submitted.

/s/Christopher J. Wallace
CHRISTOPHER J. WALLACE (0065561)
The Wallace Firm, PLLC
3350 Pennsylvania Avenue, Suite B
PO Box 2100
Weirton WV 26062
Y: (855) 530-9300/F: (888) 502-8391
ewallace@wallace-lirm.com
Attomey for Plaintiffs

/s/ Eric W. Taytel
ERIC W. TAYFEL ESQ (0068222)
Taytel & Associates, LLC

1360 West 9" Street. Suite 310
Cleveland. Ohio 44113
T: (216) 443-0550/F: (216) 443-0558
ctavfelcatavirellaw.com
Attorney for Plaintiff

JURY DEMAND
A Jury Demand is Endorsed Herein.
‘si Christopher J. Wallace
CHRISTOPHER J. WALLACE ESQ (0065561)
And
ostdvig We Titel

ERIC W. TAYFEL FSO (0068222)
Attornes for Plaintifl

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Gase:1:19-cv-00493-DEN—Dee-#-4-1 Filed: O@/Q5L ANS, OHT6 44RagelD #: 13
CASE NO. SUMMONS NO.
CV19910339 D1 FX 37686728 Rule 4 (B) Ohio
Rules of Civil
Procedure
DENNIS J SCHMITT, ET AL PLAINTIFF
vs SUMMONS
ANJ, LLC, ET AL DEFENDANT

ANJ, LLC You have been named defendant in a sums

784 SECOND STREET complaint (copy attached hereto) filed in Cuyahoga

FALL RIVER MA 02721 County Court of Common Pleas, Cuyahoga County
Justice Center, Cleveland, Ohio 44113, by the
plaintiff named herein.

You are hereby summoned and required to answer
the complaint within 28 days after service of this
Said answer is required to be served on: summons upon you, exclusive of the day of service.
2S Said answer is required to be served on Plaintiff's

Plantiff's Attorney Attorney (Address denoted by arrow at left.)

CHRISTOPHER J WALLACE Your answer must also be filed with the court

THE WALLACE FIRM, PLLC within 3 days after service of said answer on

plaintiff's attorney.
P.O. BOX 2100

WEIRTON, WV 26062-0000 If you fail to do so, judgment by default will be
rendered against you for the relief demanded in the
complaint.

 

 

 

Case has been assigned to Judge:

 

MAUREEN CLANCY
Do not contact judge. Judge's name is given for
attorney's reference only.

 

 

 

NAILAH K. BYRD
Clerk of the Court of Common Pleas

DATE SENT <befo—

Feb 4, 2019 By

 

 

 

 

 

Deputy

 

COMPLAINT FILED 01/30/2019

SN130

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 9 of 26. PagelD #: 14

 

February 8,2019

Dear Customer:

The following is the proof-of-delivery for tracking number 785300336760.

 

Delivery Information:

 

Status: Delivered Delivered to: Receptionist/Front Desk
Signed for by: M.DIMETRE Delivery location: 784 2ND ST

FALL RIVER, MA 02721
Service type: FedEx Express Saver Delivery date: Feb 7, 2019 11:23
Special Handling: Deliver Weekday

Direct Signature Required

 

 

Shipping Information:

 

Tracking number: 785300336760 Ship date: Feb 4, 2019
Weight: 0.5 Ibs/0.2 kg

Recipient: Shipper:

ANJ, LLC CCoC

784 SECOND STREET 1200 Ontario

FALL RIVER, MA 02721 US Cleveland, OH 44113 US

Reference CV19910339

Invoice number 37686728

Thank you for choosing FedEx,

 
 

 

1:19-cv-004

bk

 

 

 

CASE NO.

CV19910339 D2 FX

 

 

UMMONS NO.

Ths

37686729

 

 

 

 

DENNIS J SCHMITT, ET AL
vs

ANJ, LLC, ET AL

PLAINTIFF

DEFENDANT

 

 

 

EML EXPRESS,
8 S STREET
HULL MA 02045

INC

 

 

Said answer is required to be served on:

a ae

Plantiff's Attorney

 

 

CHRISTOPHER J WALLACE
THE WALLACE FIRM, PLLC

P.O.
WEIRTON,

Box 2100
WV 26062-0000

 

 

Case has been assigned to Judge:

 

 

MAUREEN CLANCY
Do not contact judge. Judge's name is given for
attorney's reference only.

 

 

 

 

NAILAH K. BYRD
Clerk of the Court of Common Pleas

Hef

Filed: O2/QevitPan offs iirage|D #: 15
Rule 4 (B) Ohio

Rules of Civil
Procedure

SUMMONS

You have been named defendant in a sums
complaint (copy attached hereto) filed in Cuyahoga
County Court of Common Pleas, Cuyahoga County
Justice Center, Cleveland, Ohio 44113, by the
plaintiff named herein.

You are hereby summoned and required to answer
the complaint within 28 days after service of this
summons upon you, exclusive of the day of service.

Said answer is required to be served on Plaintiff's
Attorney (Address denoted by arrow at left.)

Your answer must also be filed with the court
within 3 days after service of said answer on
plaintiff's attorney.

If you fail to do so, judgment by default will be
rendered against you for the relief demanded in the
complaint.

 

 

 

 

§N130

DATE SENT
Feb 4, 2019 By
COMPLAINT FILED 01/30/2019

Deputy

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 11 of 26. PagelD #: 16

 

February 9,2019

Dear Customer:

The following is the proof-of-delivery for tracking number 785300337907.

 

Delivery Information:

 

Status: Delivered Delivered to: Residence
Signed for by: C.LONG Delivery location: 8S ST

HULL, MA 02045
Service type: FedEx Express Saver Delivery date: Feb 8, 2019 10:52
Special Handling: Deliver Weekday

Residential Delivery

Direct Signature Required

 

 

Shipping Information:

 

Tracking number: 785300337907 Ship date: Feb 4, 2019
Weight: 0.5 Ibs/0.2 kg

Recipient: Shipper:

EML EXPRESS, INC CCoC

8S STREET 1200 Ontario

HULL, MA 02045 US Cleveland, OH 44113 US

Reference CV19910339

invoice number 37686729

Thank you for choosing FedEx.

 
 

 

 

 

 

 

 

 

 

 

 

 

Gase:1:19-cv-00493-DEN-Dec#:-1-4 Filed: O2/DEVERANR OffRfustPage|lD #: 17
CASE NO. SUMMONS NO.
CV19910339 D3 FX 37686730 Rule 4 (B) Ohio
Rules of Civil
Procedure
DENNIS J SCHMITT, ET AL PLAINTIFF
Vs SUMMONS
ANJ, LLC, ET AL DEFENDANT
ANTONIO NOGUEIRA You have been named defendant in a sums
602 NW 13TH STREET NO. 34 complaint (copy attached hereto) filed in Cuyahoga
BOCA RATON FL 33486 County Court of Common Pleas, Cuyahoga County
Justice Center, Cleveland, Ohio 44113, by the
plaintiff named herein.

 

 

Said answer is required to be served on:

Se

Plantiff's Attorney

You are hereby summoned and required to answer
the complaint within 28 days after service of this
summons upon you, exclusive of the day of service.

Said answer is required to be served on Plaintiff's
Attorney (Address denoted by arrow at left.)

 

 

CHRISTOPHER J WALLACE
THE WALLACE FIRM, PLLC

BOX 2100
WV 26062-0000

P.O.
WEIRTON,

Your answer must also be filed with the court
within 3 days after service of said answer on
plaintiff 's attorney.

If you fail to do so, judgment by default will be
rendered against you for the relief demanded in the

 

 

Case has been assigned to Judge:

complaint.

 

 

MAUREEN CLANCY
Do not contact judge. Judge's name is given for
attorney's reference only.

 

 

 

 

NAILAH K. BYRD
Clerk of the Court of Common Pleas

Auf

 

 

 

 

$N130

DATE SENT
Feb 4, 2019 By
COMPLAINT FILED 01/30/2019

Deputy

 
 

 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 13 of 26. PagelD #: 18

IN THE COURT OF COMMON PLEAS

 

 

CUYAHOGA COUNTY, OHIO
DENNIS SCHMITT, et al. ) CASE NO: CV 19 910339
)
Plaintiff ) JUDGE MAUREEN CLANCY
) .
ANJ, LLC, et al. ) MOTION TO WITHDRAW AS
) PLAINTIFFS’ ATTORNEY
Defendants. )

Now comes Eric W. Tayfel co-counsel for Plaintiffs Dennis J. Schmitt and Diane Schmitt
to request this Honorable Court approve his Motion To Withdraw as counsel for Plaintiffs
as his co-counsel Christopher Wallace is prepared to continue as the sole attorney of record.
Further, the undersigned certifies that Plaintiffs are in agreement and remain informed of any
orders and upcoming assignment dates in this matter as required by Mr. Wallace.

Respectfully Submitted,

. “
i a fe

        

Gh LL 5 Fil

ERIC W. TAYFEL, ESQ. (0068222)
Tayfel & Assocjates, LLC

1360 W. 9"" Street, Suite 310
Cleveland, Ohio 44113

T: (216) 443-0550/F: (216) 443-0558
etayfel@tayfellaw.com

 

CERTIFICATE OF SERICE

A copy of the foregoing Motion To Withdraw As Plaintiffs’ Attorney was sent this 6"
day of February, 2019 via e-mail to: Christopher Wallace, The Wallace F irm, PLLC, 3350
Pennsylvania Avenue, Suite B, PO Box 2100, Weirton WV 26062
cwallace@wallace-firm.com and via regular US Mail, postage pre-paid, to: ANJ, LLC, 784
Second Street, Fall River MA 02721; EML Express, Inc., 8 S Street, Hull MA 02045-1503 and
Antonio Nogueira, 602 N.W. 13" Street No. 34, Boca Raton FL 33486.

 

 

ERIC W. TAYFEL,, ESQ. (0068222)

 
 

SUMMONS INAEEVIE AL TINA LDRNOPCOMMON Piles CHRO GH abERTY AGCHCE GNTER

 

CASE NO SUMMONS NO.
cV19910339 D2 FX 37686729
DENNIS J SCHMITT, ET AL ‘PLAINTIFF
vs
ET AL _DEFENDANT

ANd, LLC,

 

EML EXPRESS, INC
8 S STREET
HULL MA 02045

Said answer is required to be served on:

od

CHRISTOPHER 9G WALLACE
THE WALLACE FIRM, PLLC

Plantiff's Attorney

P.O. BOX 2100
WEIRTON, WV 26062-0000

Case has been assigned to Judge:

 

MAUREEN CLANCY
Do not contact judge. Judge's name is given for
attorney's reference only.

 

 

DATE SENT
Feb 4, 2019 By.
os }

COMPLAINT FILED 01/30/2019

CMSN130

NAILAH K. BYRD
Clerk of the Court of Common Pleas

hf) —

HAC AAA

Deputy

CLEVELAND, OHIO 44113
Rule 4 (B) Ohio

Rules of Civil
Procedure

SUMMONS

You have been named defendant in a sums
complaint (copy attached hereto) filed in Cuyahoga
County Court of Common Pleas, Cuyahoga County
Justice Center, Cleveland, Ohio 44113, by the
plaintiff named herein.

You are hereby summoned and required to
answer the complaint within 28 days after service
of this summons upon you, exclusive of the day of
service.

Said answer is required to be served on Plaintiff's
Attorney (Address denoted by arrow at left.)

Your answer must also be filed with the court
within 3 days after service of said answer on
plaintiffs attorney,

If you fail to do so, judgment by default will be
rendered against you for the relief demanded in the
complaint.

 

 
Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 15 of 26. PagelD #: 20

 

NAILAH K. BYRD

CUYAHOGA COUNTY CLERK OF COURTS
1200 Ontario Street
Cleveland, Ohio 44113

Court of Common Pleas

New Case Electronically Filed:
January 30, 2019 13:33

By: ERIC W. TAYFEL 0068222

Confirmation Nbr. 1612517

DENNIS J SCHMITT, ET AL CV 19 910339

VS.

Judge: MAUREEN CLANCY
ANI, LLC, ET AL

Pages Filed: 5

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB
Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 16 of 26. PagelD #: 21

IN THE COURT OF COMMON PLEAS
CUYAHOGA COUNTY, OHIO

DENNIS J. SCHMITT
§2 Diebold Road Case No.
McKees Rocks, PA 15136

Ion.
and

DIANE SCHMITT

52 Diebold Road

McKees Rocks, PA 15136
Plaintiffs,

Vs.

ANJ, LLC

784 Second Street

Fall River, MA 02721

and

EML EXPRESS, INC.

8 S Street

Hull, MA 02045-1503

and

ANTONIO NOGUEIRA

602 N.W. 13'" Street, No. 34

Boca Raton, FL:33486
Defendants.

COMPLAINT
(Jury Demand Endorsed Herein)

NOW come Plaintiffs, Dennis and Diane Schmitt, and for their Complaint against
Defendants ANJ, LLC (hereafier Defendant ANJ), Defendant EML Express, Inc. (hercafter

Defendant EML) and Defendant Antonio Nogueira (hereafter Defendant Nogueira) state as

follows:

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 17 of 26. PagelD #: 22

1. Plaintiffs Dennis Schmitt and Diane Schmitt were at all times relevant herein, private
citizens and residents of the City of McKees Rocks, Allegheny County, in the Commonwealth of
Pennsylvania.

2. Defendant ANJ was at all times hercin, a foreign, for profit corporation, with its
principle place of business being located at 784 Second Street, Fall River, Massachusetts.

3. Defendant EML was at all times relevant herein, a foreign, for profit corporation,
with its principle place of business being located at 8 S Street, Hull Massachusetts.

4. Defendant Nogueira is a private citizen and upon information and belief is a resident
of the City of Boca Raton, in the State of Florida.

5, Atall times relevant herein, Defendant Nogueira was an employee and/or agent of
Defendant ANJ and/or Defendant EML.

6. On January 30, 2017, PlainuiT Dennis Schmitt was operdting a 2008 International box
truck on 1-271 south in the City of Bedford Heights. Cuyahoga County. Ohio.

7. Atall times relevant herein. Plaintiff Dennis Schmitt was operating his vehicle ina
safe and lawful. manner.

$. At that same date, time and location. Delendant Nogueira was operating a tractor
trailer and was also traveling on [-271 southbound.

9, When it was to the left of the Schinitt vehicle, the tractor trailer attempted to change
janes to the right. When it avempted todo so, it struck the vehicle driven by Plaintiff Dennis
Schmitt. causing the Schinit vehicle tu be forced from the roadway. belore ultiniately crashing
into a concrete barrier,

10. ‘The crash was a direet result of the negligence of Defendant Nogucira, Defendant

ANJ and/or Defendant EMI. ‘That negligence inehides. but is not limited to:

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 18 of 26. PagelD #: 23

(a) Failing to keep a proper lookout;
(b) Failing to properly control the tractor trailer;
(c) Failing to maintain travel in a designated lane;

(d) Failing to yield the right of way to the vehicle carrying Plaintiff Dennis
Schmitt;

(e) Failing to properly signal a lane change;
(f) Failing to safely change lanes;
(g) Such other negligence as may be developed during the course of discovery.

11. Following the impact with the vehicle operated by Plaintiff Dennis Schmitt,
Defendant Nogueira recklessly fled the scene off the accident, It was only later that a passerby
was able to chase down Defendant Nogueira and obtain his information.

12. Fleeing the scene of an accident is a reckless act, which entitles Plaintiffs to punitive
damages.

13. Asa direct and proximate result of the crash, Plaintiff Dennis Schmitt suffered
physical injuries, some of which are permanent in nature. These injuries include strain/sprain of
the cervical spine, cervical radiculopathy, fractured and bruised ribs, tear of thé rotator cuff,
strain/sprain of the shoulder, strain/sprain of the low back and a concussion.

14. Plaintiff has incurred medical expenses in excess of $56,000.00 as a direct and
proximate result of the crash.

15, Plaintiff Dennis Schmitt's injuries have caused, and will continuc to cause, Plaintiff
Dennis Schmitt pain, anguish, loss of the ability to perform his usual daily functions and a Joss of
enjoyment of life,

16. Plaintiff Dennis Schmitt has suffered a loss of income and will continue to suffer a

loss of income in the future, due to his permanent injuries.

Electronically Filed 01/30/2019 13:33 / / CV 19 910339 / Confirmation Nbr. 1612517 / CLCCB

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 19 of 26. PagelD #: 24

_ 17, All the harms and losses suffered by Plaintiff Dennis Schmitt, as sct forth above, are
the direct and proximate result of the negligence and/or recklessness of Defendant ANJ,
Defendant EML and/or Defendant Nogueira.

18. As the employer or principle of their agents or employees, Defendant ANJ and
Defendant EML are responsible for the negligent and/or reckless acts of their employees or agents.
19. At all times relevant herein, Plaintiff Diane Schmitt has been the lawfully wedded

to Plaintiff Dennis Schmitt.

20. As a direct and proximate result of Defendants’ actions and inactions.as set forth
above, Plaintiff Diane Schmitt has sustained the loss of her husband’s consortium, including the
loss of his society, services, affection and relations.

WHEREFORE, Plaintiffs respectfully request the Court award compensatory and
punitive damages against Defendant ANJ, LILC, Defendant EMI. Express, Inc, and Defendant
Antonio Nogueira, jointly and severally, in an amount sufficient to satisfy’ the jurisdictional limits
of this Court and to fully and fairly compensate Plaintiffs for their hirms and losses set forth herein.

Plaintiffs further pray for their attomey’s fees, costs und for such other relief as this Court deems

just and proper.

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Respectfully submitted.

/s/Christopher J. Wallace
CHRISTOPHER J. WALLACE (0065561)
The Wallace Firm, PLLC
3350 Pennsylvania Avenue, Suite B
PO Box 2100
Weirton WV 26062
T: (855) 530-9300/F: (888) 502-8391
cwallace@avallace-lirm.com
Attorney for Plaintiffs

/s/ Eric W. Taytel
ERIC W. TAYFEL ESQ (0068222)
Tayfel & Associates, LLC
1360 West 9" Street, Suite 310
Cleveland. Ohio 44113
T: (216) 443-0550/F: (216) 443-0558
clayfel@taytellaw.com
Attorney for Plaintiff

JURY DEMAND
A Jury Demand is Endorsed Herein.
/s/ ChristopherJ. Wallace
CHRISTOPHER J, WALLACE ESQ (0065561)
And
wlbrig W.Tayfel _

BRIC W. TAYEEL ESQ (0068222)
Attorney for Plaindf?

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Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 21 of 26. PagelD #: 26
Motion No. 4751992

 

NAILAH K. BYRD

CUYAHOGA COUNTY CLERK OF COURTS
1200 Ontario Street
Cleveland, Ohio 44113

Court of Common Pleas

MOTION TO WITHDRAW AS COUNSEL
February 6, 2019 16:18

By: ERIC W. TAYFEL 0068222

Confirmation Nbr. 1618780

DENNIS J SCHMITT, ET AL CV 19 910339

VS.

Judge: MAUREEN CLANCY
ANJ, LLC, ET AL

Pages Filed: 1

Electronically Filed 02/06/2019 16:18 / MOTION / CV 19 910339 / Confirmation Nbr. 1618780 / CLUK1

 
 

Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 22 of 26. PagelD #: 27

IN THE COURT OF COMMON PLEAS
CUYAHOGA COUNTY, OHIO

 

 

DENNIS SCHMITT, et al. ) CASE NO: CV 19 910339
)
Plaintiff ) JUDGE MAUREEN CLANCY
)
ANJ, LLC, et al. ) MOTION TO WITHDRAW AS
) PLAINTIFFS’ ATTORNEY
Defendants. )

Now comes Eric W. Tayfel co-counsel for Plaintiffs Dennis J. Schmitt and Diane Schmitt
to request this Honorable Court approve his Afetion To Withdraw as counsel for Plaintiffs
as his co-counsel Christopher Wullace is prepared to continue as the sole attorney of record.
Further, the undersigned certifies that Plaintifls are in agreement and remain informed of any
orders and upcoming assignment dates in this matter as required by Mr. Wallace.

Respectfully Submitted,

GWG

ERIC W. TAYFEL-ESO. (0068222)
Taytel & Assoclétes. LLC

1360 W. 9" Street, Suite 310
Cleveland. Ohio 44113

T: (216) 443-0550/F: (216) 443-0558
ctavfeltaaviellaw.com

CERTIFICATE OF SERICE

A copy of the foregoing Motion To Withdraw As Plaintiffs’ Attorney was sent this 6"
day of February. 2019 via e-mail to: Christopher Wallace, The Wallace Firm, PLLC, 3350
Pennsylvania Avenuc, Suite B, PO Box 2100. Weirton WV 26062
ewallacer@wwallace-firm.com and via regular US Mail. postage pre-paid, to: ANJ, LLC, 784
Second Street, Fall River MA 02721: FML Express. Inc.. 8 S Street. Hull MA 02045-1503 and
Antonio Nogueira, 602 N.W. 13" Street No. 34, Boca Raton FL 33486.

Lell vif,

ERIC W, TAYFE, LSQ. (0068222)

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Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 23 of 26. PagelD #: 28

CAA

107359981
IN THE COURT OF COMMON PLEAS
CUYAHOGA COUNTY, OHIO
DENNIS J SCHMITT, ET AL Case No: CV-19-910339

Plaintiff
Judge: MAUREEN CLANCY

ANJ, LLC, ET AL
Defendant

JOURNAL ENTRY

ATTORNEY TAYFEL'S MOTION TO WITHDRAW AS PLAINTIFFS' ATTORNEY, FILED 02/06/2019, IS GRANTED.
ATTORNEY WALLACE WILL CONTINUE TO REPRESENT THE PLAINTIFFS.

Meera LU on

Judge Signature 02/07/2019

02/07/2019
RECEIVED FOR FILING
02/07/2019 16:04:20
NAILAH K. BYRD, CLERK

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NAILAH K. BYRD

CUYAHOGA COUNTY CLERK OF COURTS
1200 Ontario Street
Cleveland, Ohio 44113

Court of Common Pleas

NOTICE OF APPEARANCE
February 19, 2019 13:17

By: JORDAN C. HETTRICH 0091744

Confirmation Nbr. 1629470

DENNIS J SCHMITT, ET AL CV 19 910339

VS.

Judge: MAUREEN CLANCY
ANJ, LLC, ET AL

Pages Filed: 2

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IN THE COURT OF COMMON PLEAS

 

CUYAHOGA COUNTY, OHIO
DENNIS J. SCHMITT and DIANE CIVIL ACTION NO.: CV 19 910339
SCHMITT,
Plaintiffs, JURY TRIAL DEMANDED HEREIN
vs.

ANJ,LLC, EML EXPRESS, INC., and
ANTONIO NOGUEIRA,

Defendants.

ENTRY OF APPEARANCE

Kindly enter the appearance of John T. Pion, Esquire, Jordan C. Hettrich, Esquire and Pion,
Nerone, Girman, Winslow & Smith, P.C., on behalf of Defendants, ANJ, LLC, EML Express, Inc.,

and Antonio Nogueira, in the above matter.

PION, NERONE, GIRMAN, WINSLOW
& SMITH, P.C.

By:_/s/ Jordan C. Hettrich
John T. Pion, Esq.
OHSB #70722
Jordan C. Hettrich, Esq.
OHSB #91744

1500 One Gateway Center
Pittsburgh PA 15222
412-281-2288

jpion@pionlaw.com

Counsel for Defendants

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Case: 1:19-cv-00493-DCN Doc #: 1-1 Filed: 03/05/19 26 of 26. PagelD #: 31

CERTIFICATE OF SERVICE

I, Jordan C. Hettrich, hereby certify that a true and correct copy of the foregoing ENTRY
OF APPEARANCE was served upon counsel of record by electronic mail, this 19"" day of

February, 2019, as follows:

Christopher J. Wallace, Esquire
The Wallace Firm, PLLC
3350 Pennsylvania Avenue, Suite B
P.O. Box 2100
Weirton, WV 26062
cwallace@wallace-firm.com
Counsel for Plaintiffs

PION, NERONE, GIRMAN, WINSLOW
& SMITH, P.C.

By:_/s/ Jordan C. Hettrich
John T. Pion, Esq.
OHSB #70722
Jordan C. Hettrich, Esq.
OHSB #91744

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